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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: : Chapter 11
ORION HEALTHCORRP, INC.! : Case No. 18-71748 (AST)
ee Debtors. ss :_-« (Jointly Administered)

HOWARD M. EHRENBERG IN HIS CAPACITY :
AS LIQUIDATING TRUSTEE OF ORION : Adv. Pro. No. 20-08052 (ast)
HEALTHCORP, INC., ET AL., :

: [Joint Statement of Uncontroverted

Plaintiff, : Facts and Additional Separate

: Statement of Facts, Affidavit Jeffrey

v. : P. Nolan, and Request For Judicial

: Notice Filed Concurrently Herewith]
ABRUZZI INVESTMENTS, L.L.C.; JOHN
PETROZZA,

Defendants.

AFFIDAVIT OF EDITH WONG IN SUPPORT OF PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT, OR IN THE
ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
DEFENDANT JOHN PETROZZA

STATE OF NEW JERSEY

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COUNTY OF BERGEN

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.

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Edith Wong, being duly sworn, deposes and says:

1. I am a Managing Director within the Forensic and Litigation Consulting
group at FTI Consulting (“FTI”) and a Certified Public Accountant (“CPA”) in the state of New
York. I have more than 16 years of experience in forensic accounting investigations. The facts
stated herein are of my own personal knowledge. If called upon as a witness to any facts set
forth herein, I could and would competently testify thereto.

2. I make this Affidavit in support of the accompanying Motion For
Summary Judgment, or in the Alternative Summary Adjudication, Against Defendants Abruzzi
Investments, LLC and John Petrozza (the “Motion”).”

3. In September 2017, FTI was retained in connection with investigative and
advisory services regarding Constellation Healthcare Technologies, Inc. (“CHT”). I was part of
a team of FTI professionals (the “FTI Investigative Team”) who, in conjunction with Debtors’
counsel, conducted an investigation of the financial condition and business operations of CHT.
In connection with the investigation, the FTI Investigative team was granted access to the
records of the Debtors including, bank statements, accounts payable, accounts receivables,
vendor files, customer files, financial systems and email communications of the Debtors’
employees. As such, I am personally familiar with the Debtors’ book and records.

4. Paul Parmjit Parmar, aka Paul Parmar, was the Chief Executive Officer of
the Debtor, Constellation Healthcare Technologies, Inc., a consolidated enterprise which
operated in the healthcare sector primarily in revenue and practice management for physician

practices.

2 Capitalized terms not otherwise defined herein have the same meaning ascribed to them in the Motion.

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5. The Debtor CHT maintained corporate bank accounts at M&T Bank.
Attached to this Affidavit as Exhibits A and B, are true and correct copies of M&T Bank
Statements for February 2016 and August 2016, respectively, of the Debtor CHT (Ex. B, Ehren-
Abruzzi 000938-939) as maintained and located within the business records of the Debtors.

6. The Debtor Orion Healthcorp Inc. maintained corporate bank accounts one
of which was at JP Morgan Chase Bank, N.A. Attached to this Affidavit as Exhibit C, is a true
and correct copy of the March 2017, JP Morgan Chase Bank, N.A. bank statement of the Debtor
Orion Healthcorp, Inc. with JP Morgan Chase Bank, N.A. as maintained and located within the
business records of the Debtors.

7. Attached to this Affidavit as Exhibit D is a true and correct copy of the
Certificate of Formation for Lexington Landmark Services LLC (Ex. PET 0007; Ehren-Abruzzi
000002) as maintained and located within the business records of the Debtors.

8. Attached to this Affidavit as Exhibit E is a true and correct copy of the
Operating Agreement of Lexington Landmark Services LLC (Ex. PET 00008; Ehren-Abruzzi
000004-09) as maintained and located within the business records of the Debtors.

9. Attached to this Affidavit as Exhibit F is a true and correct copy of the
Operating Agreement of Pulsar Advance Care LLC for (Ehren-Abruzzi 000040-45) as
maintained and located within the business records of the Debtors.

10. Attached to this Affidavit as Exhibit G is a true and correct copy of email
from Sam Zaharis dated January 23, 2017 (Ex. PET 11; Ehren-Abruzzi) as maintained and
located within the business records of the Debtors.

11. Attached to this Affidavit as Exhibit H are true and correct copies of

correspondence from Robinson Brog dated January 25, 2017 and letters of consent for each

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company to Martin Lilly dated January 25, 2017 (Ehren-Abruzzi 000030-39) as maintained and
located within the business records of the Debtors.

12. Attached to this Affidavit as Exhibit I is are true and correct copies of
correspondence dated December 5, 2016 from the Internal Revenue Service addressed to
Lexington Landmark Services LLC (Ex. PET 0009; Ehren-Abruzzi 000010-11), Pulsar
Advanced Care LLC and Axis Medical Services LLC as maintained and located within the
business records of the Debtors.

13. Attached to this Affidavit as Exhibit J is a true and correct copy of
correspondence dated December 12, 2016 from the Internal Revenue Service addressed to Vega
Advanced Care LLC as maintained and located within the business records of the Debtors.

14. Attached to this Affidavit as Exhibit K, is a true and correct copy of the
Credit Agreement dated January 30, 2017 among Bank of America and the Borrowers (Ehren-
Abruzzi 000684-869) as maintained and located within the business records of the Debtors.

15. Attached to this Affidavit as Exhibit L is a true and correct copy of the
Revolving Note, Borrower Assignment, Assumption and Release, and Security Agreement each
dated January 30, 2017 among Bank of America and the Borrowers (Ehren-Abruzzi
0010101097) as maintained and located within the business records of the Debtors.

16. Attached to this Affidavit as Exhibit M is a true and correct copy of email
from Paul Parmar dated May 24, 2017 (Ehren-Abruzzi 000018) as maintained and located within
the business records of the Debtors.

17. Attached to this Affidavit as Exhibit N is a true and correct copy of email
from Robinson Brog dated May 24, 2017 (Ehren-Abruzzi 000019) as maintained and located

within the business records of the Debtors.

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18. T have reviewed the Debtors’ accounting records and general ledger and

found no documents to evidence John Petrozza and Abruzzi performed any service or had any

business dealings with the Debtors. There are no records reflecting an antecedent debt of the
Debtors was satisfied concurrently with the diversion of the $250,000 on May 25, 2017.
| declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.
Executed this 12 day of February, 2022, at Teanty , New Derse 4.
, U/.
EDITH WONG
South Cordner
JONATHAN GARDNER
NOTARY PUBLIC OF NEW JERSE
Commission # 50110295
My Commission Expires 8/12/2024

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